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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

OWEN HARTY, Individually,               :
                                        :
      Plaintiff,                        :
                                        :
v.                                      :                Case No.
                                        :
BROOKHAVEN CENTER ASSOCIATES LP, :
A Pennsylvania Limited Partnership,     :
                                        :
      Defendant.                        :
_______________________________________ :

                                          COMPLAINT
                             (Injunctive And Other Relief Demanded)

   Plaintiff, OWEN HARTY, Individually, on his behalf and on behalf of all other individuals

similarly situated, hereby sues Defendant, BROOKHAVEN CENTER ASSOCIATES LP, A

Pennsylvania Limited Partnership, for Injunctive and other Relief, and attorneys' fees, litigation

expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”).

1. Plaintiff is a Florida resident, lives in Broward County, is sui juris, and qualifies as an

   individual with disabilities as defined by the ADA. Plaintiff is paralyzed from the waist

   down and is bound to ambulate in a wheelchair. Plaintiff travels frequently to the

   Philadelphia metropolitan area to visit his niece, attend gun shows, and maintain his business

   and client contacts.

2. Defendant's property, Brookhaven Center, 3700 Edgmont Ave, Brookhaven, PA 19015, is

   located in the County of Delaware.
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3. Venue is properly located in the EASTERN DISTRICT OF PENNSYLVANIA because

   venue lies in the judicial district of the property situs. Defendant's property is located in and

   does business within this judicial district.

4. Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

   jurisdiction over actions which arise from Defendant's violations of Title III of the Americans

   with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. §§ 2201 and 2202.

5. Plaintiff has visited the property which forms the basis of this lawsuit and plans to return to

   the property to avail himself of the goods and services offered to the public at the property,

   and to determine whether the property has been made ADA compliant. Plaintiff has

   encountered architectural barriers at the subject property which discriminate against him on

   the basis of his disability and have endangered his safety. These barriers also prevent

   Plaintiff from returning to the property to enjoy the goods and services available to the

   public. Plaintiff is also a tester for the purpose of asserting his civil rights and monitoring,

   ensuring, and determining whether places of public accommodation are in compliance with

   the ADA.

6. Plaintiff has suffered and will continue to suffer direct and indirect injury as a result of

   Defendant's discrimination until Defendant is compelled to comply with the requirements of

   the ADA. Plaintiff is deterred from, and is denied the opportunity to participate and benefit

   from the goods, services, privileges, advantages, facilities and accommodations at

   Defendant's property equal to that afforded to other individuals. Plaintiff is aware that it

   would be a futile gesture to attempt to visit Defendant's property if he wishes to do so free of

   discrimination.


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7. Defendant owns, leases, leases to, or operates a place of public accommodation as defined by

   the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

   Defendant is responsible for complying with the obligations of the ADA. The place of public

   accommodation that Defendant owns, operates, leases or leases to is known as Brookhaven

   Center, 3700 Edgmont Ave, Brookhaven, PA 19015.

8. Plaintiff has a realistic, credible, existing and continuing threat of discrimination from

   Defendant's non-compliance with the ADA with respect to this property as described, but not

   necessarily limited to, the allegations in paragraph 10 of this Complaint. Plaintiff has

   reasonable grounds to believe that he will continue to be subjected to discrimination in

   violation of the ADA by Defendant. Plaintiff desires to visit Brookhaven Center not only to

   avail himself of the goods and services available at the property, but also to assure himself

   that this property is in compliance with the ADA so that he and others similarly situated will

   have full and equal enjoyment of the property without fear of discrimination.

9. Defendant has discriminated against Plaintiff by denying him access to, and full and equal

   enjoyment of, the goods, services, facilities, privileges, advantages and/or accommodations

   of the subject property, as prohibited by 42 U.S.C. § 12182 et seq.

10. Defendant has discriminated, and is continuing to discriminate, against Plaintiff in violation

   of the ADA by failing to, inter alia, have accessible facilities by January 26, 1992 (or January

   26, 1993, if Defendant has 10 or fewer employees and gross receipts of $500,000 or less). A

   preliminary inspection of Brookhaven Center has shown that violations exist. These

   violations include, but are not limited to:




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A. Defendant fails to adhere to a policy, practice and procedure to ensure that all goods,

   services and facilities are readily accessible to and usable by the disabled.

B. Defendant fails to maintain its features to ensure that they are readily accessible and

   usable by the disabled.

C. There is a lack of compliant, accessible route connecting the disabled parking spaces

   with all the goods, services and facilities of the property, with lack of direct accessible

   route from the parking spaces to the entrances of the facility, excessive slopes, non-

   compliant curb approaches, inaccessible doorways, improper door hardware,

   obstructions, narrow or blocked passageways, lack of sufficient maneuvering space,

   and lack of required clear floor spaces. Defendant's failure to provide a compliant

   accessible route connecting all essential elements of the facilities makes it difficult,

   unsafe and/or impossible for Plaintiff to access the goods and services offered at the

   shopping center.

D. There is an insufficient number of compliant parking spaces and access aisles, with

   insufficient width, missing signage, and lack of compliant signage. The lack of

   compliant parking makes it difficult, unsafe and/or impossible for Plaintiff to locate

   accessible parking, transfer from his vehicle to his wheelchair and access the

   shopping center.

E. There are non-compliant restrooms, with non-compliant doorways, improper door

   hardware, inaccessible sinks, unwrapped pipes, poorly wrapped pipes, pipe wrapping

   falling off, insufficient door clearance, insufficient latch side clearance, improperly

   located amenities, inaccessible commodes, lack of compliant grab bars, missing grab


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           bars, insufficient maneuvering space, lack of required clear floor spaces, obstructions,

           and flush controls on wrong side. The non-compliant, violative and inaccessible

           features in the public restrooms make it difficult or impossible for Plaintiff to use the

           restrooms for their intended purpose.

11. The discriminatory violations described in paragraph 10 are not an exclusive list of

   Defendant's ADA violations. Plaintiff requires an inspection of Defendant's place of public

   accommodation in order to photograph and measure all of the discriminatory acts violating

   the ADA and all of the barriers to access. Plaintiff, and all other individuals similarly

   situated, have been denied access to, and have been denied the benefits of services, programs

   and activities of Defendant's buildings and its facilities, and have otherwise been

   discriminated against and damaged by Defendant because of Defendant's ADA violations, as

   set forth above. Plaintiff and all others similarly situated will continue to suffer such

   discrimination, injury and damage without the immediate relief provided by the ADA as

   requested herein. In order to remedy this discriminatory situation, Plaintiff requires an

   inspection of Defendant's place of public accommodation in order to determine all of the

   areas of non-compliance with the Americans with Disabilities Act.

12. Defendant has discriminated against Plaintiff by denying him access to full and equal

   enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations of

   its place of public accommodation or commercial facility in violation of 42 U.S.C. § 12181 et

   seq. and 28 CFR 36.302 et seq. Furthermore, Defendant continues to discriminate against

   Plaintiff and all those similarly situated by failing to make reasonable modifications in

   policies, practices or procedures, when such modifications are necessary to afford all offered


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   goods, services, facilities, privileges, advantages or accommodations to individuals with

   disabilities, and by failing to take such efforts that may be necessary to ensure that no

   individual with a disability is excluded, denied services, segregated or otherwise treated

   differently than other individuals because of the absence of auxiliary aids and services.

13. Plaintiff is without adequate remedy at law and is suffering irreparable harm. Plaintiff has

   retained the undersigned counsel and is entitled to recover attorneys''s fees, costs and

   litigation expenses from Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

14. Defendant is required to remove the existing architectural barriers to the physically disabled

   when such removal is readily achievable for its place of public accommodation that have

   existed prior to January 26, 1992, 28 CFR 36.304(a). In the alternative, if there has been an

   alteration to Defendant's place of public accommodation since January 26, 1992, then

   Defendant is required to ensure, to the maximum extent feasible, that the altered portions of

   the facility are readily accessible to and useable by individuals with disabilities, including

   individuals who use wheelchairs, 28 CFR 36.402. Finally, if Defendant's facility is one

   which was designed and constructed for first occupancy subsequent to January 26, 1993, as

   defined in 28 CFR 36.401, then Defendant's facility must be readily accessible to and useable

   by individuals with disabilities as defined by the ADA.

15. Notice to Defendant is not required as a result of Defendant's failure to cure the violations by

   January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross

   receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff or

   waived by Defendant.




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16. Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

   Injunctive Relief, including an order to require Defendant to alter Brookhaven Center to

   make those facilities readily accessible and useable to Plaintiff and all other persons with

   disabilities as defined by the ADA, or by closing the facility until such time as Defendant

   cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

   a. The Court issue a Declaratory Judgment that determines that Defendant at the

       commencement of the subject lawsuit is in violation of Title III of the Americans with

       Disabilities Act, 42 U.S.C. § 12181 et seq.

   b. The Court issue all remedies available under 42 U.S.C. Sections 12188 and 2000a-3(a)

       including but not limited to preventive relief, permanent or temporary injunction,

       restraining order, or other order, as the Court deems just and proper.

   c. The Court issue injunctive relief against Defendant, including an Order

               (i) requiring the Defendant to make all readily achievable alterations to the

       Property and to the facility operated thereon so that the Property and such facility are

       made readily accessible to and usable by individuals with disabilities to the extent

       required by the ADA;

               (ii) requiring the Defendant to make reasonable modifications in policies,

       practices or procedures as are necessary to afford all offered goods, services, facilities,

       privileges, advantages or accommodations to individuals with disabilities;

               (iii) requiring the Defendant to take such steps as are necessary to ensure that no

       individual with a disability is excluded, denied services, segregated or otherwise treated


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      differently than other individuals because of the absence of auxiliary aids and services;

      and

              (iv) prohibiting the Defendant from perpetuating any acts and practices which

      result in the exclusion, denial of service to or discriminatory treatment of individuals with

      disabilities.

   c. An award of attorneys' fees, costs and litigation expenses pursuant to 42 U.S.C. § 12205.

   d. Such other relief as the Court deems just and proper, and/or is allowable under Title III of

      the Americans with Disabilities Act.

                                     Respectfully Submitted,

                                             THOMAS B. BACON, P.A.




                                             By:
                                                   John F. Ward, Esquire (I.D. No. 81350)
                                                   329 S. Devon Ave.
                                                   Wayne, PA 19087
                                                   Phone: 610-952-0219
                                                   Fax: 954-237-1990
                                                   johnfward@gmail.com

                                                   Thomas B. Bacon, Esquire (I.D. No. 58629)
                                                   644 North McDonald St.
                                                   Mt. Dora, FL 32757
                                                   Phone 954-478-7811
                                                   Fax: 954-237-1990
                                                   tbb@thomasbaconlaw.com

Date: October 23, 2018




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                     United States District Court
                         EASTERN DISTRICT OF PENNSYLVANIA

OWEN HARTY, Individually,                       :
             Plaintiff,                         :
v.                                              :
BROOKHAVEN CENTER ASSOCIATES LP,                :   SUMMONS IN A CIVIL CASE
A Pennsylvania Limited Partnership,             :
             Defendant.                         :   CASE NUMBER
__________________________________              :


To: (Name and address of defendant)
       BROOKHAVEN CENTER ASSOCIATES LP
       c/o
       Alinea Capital Group
       215 S. Broad Street, Suite 203
       Philadelphia, PA 19107

       YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY:
 John F. Ward, Esquire
 THOMAS B. BACON, P.A.
 329 S. Devon Ave.
 Wayne, PA 19087

an answer to the Complaint which is herewith served upon you, within twenty-one (21) days after
service of this Summons upon you, exclusive of the day of service. If you fail to do so, judgment
by default will be taken against you for the relief demanded in the Complaint. You must also file
your answer with the Clerk of this Court within a reasonable period of time after service.


_________________________________                          ________________________
Clerk                                                      Date

_________________________________
(By) Deputy Clerk
